          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 1 of 15



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

WAYNE MILLER, on behalf of himself                  §
and all others similarly situated,                  §
                                                    §
                 Plaintiff,                         §
                                                    §
v.                                                  §                    1:18-CV-538-RP
                                                    §
MV TRANSPORTATION, INC.,                            §
                                                    §
                 Defendant.                         §

                                               ORDER

        Before the Court is Plaintiff Wayne Miller’s (“Miller”) Motion for Conditional Certification.

(Dkt. 16). Having considered the parties’ arguments, the record, and the relevant law, the Court

finds that the motion should be granted in part.

                                         I. BACKGROUND

        This is a Fair Labor Standards Act (“FLSA”) action concerning overtime compensation for

employees of Defendant MV Transportation, Inc. (“MVTI”), a services contractor for Austin’s

Capital Metro. (Am. Compl., Dkt. 27, at 1). Plaintiff Wayne Miller (“Miller”) alleges that he and

similarly situated employees were denied overtime because MVTI shaved their time and deducted

time for meal breaks that were actually spent working. (Id. at 4–5). Miller seeks to certify this action

as a collective action under the FLSA. (Mot. Certify, Dkt. 16, a 4 (citing 29 U.S.C. § 216(b))). To that

end, he asks the Court to certify the following class and send order that notice be sent to potential

class members:

        All current and former maintenance employees who were treated by Defendant as
        FLSA non-exempt and who worked for Defendant in Austin, Texas[,] within the
        past three years.



                                                    1
           Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 2 of 15



(Id. at 3). In subsequent briefing, Miller agrees to limit the class to “only those employees who

worked at the facility where [Miller] worked: the UT Shuttle Division.” (Reply Mot. Certify, Dkt. 33,

at 2 n.1). MVTI opposes class certification on several grounds. (See Resp. Mot. Certify, Dkt. 29).

                                        II. LEGAL STANDARD

        The FLSA permits one or more employees to bring an action for overtime compensation on

“behalf of himself or themselves and other employees similarly situated.” 29 U.S.C. § 216(b). Under

this provision, other similarly situated employees “do not become plaintiffs in the action unless and

until they consent in writing.” Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 915 (5th Cir. 2008). “To

keep the opt-in process efficient, district courts ‘have discretion’ to ‘facilitat[e] notice to potential

plaintiffs.’” In re JPMorgan Chase & Co., 916 F.3d 494, 500 (5th Cir. 2019) (quoting Hoffmann-La Roche

Inc. v. Sperling, 493 U.S. 165, 169 (1989)). The Fifth Circuit has approved of two different methods

for certifying an FLSA collective action, Mooney v. Aramco Servs. Co., 54 F.3d 1207, 1216 (5th

Cir.1995), overruled on other grounds by Desert Palace, Inc. v. Costa, 539 U.S. 90 (2003), and this Court uses

the “two-step conditional certification process known as the Lusardi approach.” Dyson v. Stuart

Petroleum Testers, Inc., 308 F.R.D. 510, 513 (W.D. Tex. 2015).

        The two stages of the Lusardi approach are the “notice stage” and the “decertification stage.”

Mooney, 54 F.3d at 1216. At the notice stage, the district court determines whether “the putative class

members’ claims are sufficiently similar to merit sending notice of the action to possible members of

the class.” Acevedo v. Allsup’s Convenience Stores, Inc., 600 F.3d 516, 519 (5th Cir. 2010). Because the

Court has “minimal evidence” at this stage, the determination is made “using a fairly lenient

standard,” resulting in only the “conditional certification” of a representative class. Dyson, 308

F.R.D. at 513 (quoting Mooney, 54 F.3d at 1214). “After the class members have opted in and

discovery is complete, the defendant may then file a decertification motion—the second stage of the


                                                      2
            Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 3 of 15



Lusardi approach—asking the court to reassess whether the class members are similarly situated.” Id.

at 512–13 (citing Mooney, 54 F.3d at 1214).

         Miller’s motion brings this action to the notice stage. At this stage, several considerations

apply. First, Miller bears the burden of making the preliminary factual showing that a similarly

situated group of potential plaintiffs exists. Tice v. AOC Senior Home Health Corp., 826 F. Supp. 2d

990, 995 (E.D. Tex. 2011). But that burden is a lenient one:1 Miller must establish nothing more than

“substantial allegations that the putative class members were together the victims of a single

decision, policy, or plan infected by discrimination.” Mooney, 54 F.3d at 1214 n.8. To determine

whether an FLSA plaintiff has met his or her burden, courts often look at “whether potential

plaintiffs were identified, . . . whether affidavits of potential plaintiffs were submitted, . . . and

whether evidence of a widespread discriminatory plan was submitted.” H & R Block, Ltd. v. Housden,

186 F.R.D. 399, 400 (E.D. Tex. 1999) (citations omitted).

         Second, in evaluating Miller’s motion, the Court’s determination at this stage is “based on

the pleadings and affidavits of the parties.” In re JPMorgan Chase & Co., 916 F.3d at 500. The Court

“does not resolve factual disputes, decide substantive issues going to the ultimate merits, or make

credibility determinations.” Lay v. Gold’s Gym Int’l, Inc., SA-12-CV-754-DAE, 2013 WL 5595956, at

*5 (W.D. Tex. Oct. 4, 2013) (quoting Brasfield v. Source Broadband Servs., LLC, 257 F.R.D. 641, 642

(W.D. Tenn. 2009)). Indeed, at this stage, “courts must be scrupulous to respect judicial neutrality,”

and must therefore “take care to avoid even the appearance of judicial endorsement of the merits of

the action.” Hoffmann-La Roche, 493 U.S. at 174.


1While the notice stage “typically results in conditional certification,” Jones v. SuperMedia Inc., 281 F.R.D. 282, 287 (N.D.
Tex. 2012), it is by “no means mandatory.” Lee v. Metrocare Servs., 980 F. Supp. 2d 754, 759 (N.D. Tex. 2013); see also
Songer v. Dillon Res., Inc., 569 F. Supp. 2d 703, 706 (N.D. Tex. 2008) (“While the plaintiffs’ burden at th[e notice] stage is
not onerous, neither is it invisible.”). Nonetheless, “the remedial nature of the FLSA and § 216 militate strongly in favor
of allowing cases to proceed collectively.” Tolentino v. C & J Spec–Rent Servs. Inc., 716 F. Supp. 2d 642, 647 (S.D. Tex.
2010) (cleaned up).

                                                              3
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 4 of 15



        That said, where—as here—an arbitration agreement may prevent potential plaintiffs from

participating in the collective action, a district court must ensure at Lusardi step one that notice is not

sent to them. In re JPMorgan Chase & Co., 916 F.3d at 501. If there is a genuine dispute as to the

existence or validity of an arbitration agreement, the employer has the burden to prove the

agreement’s existence and validity by a preponderance of the evidence. Id. at 502–03. A court may

consider additional evidence at Lusardi step one to resolve such disputes. Id. at 503.

        Finally, a district court may modify the proposed class definition if it is overly broad. See

Baldridge v. SBC Commc’ns, Inc., 404 F.3d 930, 931–32 (5th Cir. 2005) (recognizing a court’s power to

“limit the scope” of a proposed FLSA action).

                                          III. DISCUSSION

        Miller was a parts manager for MVTI’s maintenance division from October 2015 until

March 2018. (Miller Decl., Dkt. 16-1, ¶ 1). He says that he was an hourly employee who often

worked more than 40 hours per week, but that MVTI would “shave” his hours—reduce the hours

reported on his time cards—to deny him overtime compensation. (Id. ¶¶ 3–4; Am. Compl., Dkt. 27,

at 4). He also says that MVTI would automatically reduce his time worked by 30 minutes for lunch,

even on days when he worked through some or all of his lunch break. (Miller Decl., Dkt. 16-1, ¶¶ 3–

4). According to Miller, other maintenance department employees told him that they had

experienced the same problems. (Id.). One of those other employees, James Ortego, filed a

declaration lodging essentially the same allegations. (Ortego Decl., Dkt. 16-2). Miller believes that

the time-shaving and lunch-docking constituted a de facto company policy because the practice was

commonly practiced and widely known, but never remedied. (Miller Decl., Dkt. 33-1, ¶ 10). In sum,

Miller and Ortego allege that they and other MVTI maintenance employees were (1) paid on an

hourly basis, (2) non-exempt and overtime eligible, and (3) subject to hours-reductions policies


                                                    4
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 5 of 15



designed to reduce their overtime compensation. (Miller Decls., Dkts. 16-1 & 33-1; Ortego Decl.,

Dkt. 16-2).

        At the outset, MVTI points out that Miller and Ortego’s allegations pertain only to their

experience working in one of MVTI’s two facilities: its UT Shuttle Division. (Resp. Mot. Certify,

Dkt. 29, at 10). Miller agrees that, at the very least, the class should be limited to employees who

worked in the UT Shuttle Division. (Reply Mot. Certify, Dkt. 33, at 2 n.1).

        Beyond that point, however, lies a series of disputes. First, MVTI argues that conditional

certification is inappropriate both because the potential plaintiffs’ claims are too individualized and

because the only common policy is a lawful one. (Resp. Mot. Certify, Dkt. 29, at 9–16). Second, it

also argues that conditional certification is inappropriate because there is no evidence of other

interested potential plaintiffs. (Id. at 16–17). Third, it argues that the scope of the class is overbroad

because many members belong to a union whose collective bargaining agreement precludes them

from joining this action. (Id. at 17–21). Separate from its arguments against conditional certification,

MVTI also objects to the content and method of Miller’s proposed class notice, (id. at 23–24), and

to tolling the statute of limitations for potential class members, (id. at 24–25). The Court will address

each issue in turn.

                      1. Are the Potential Plaintiffs’ Claims Too Individualized?

        MVTI points out that evaluating each maintenance employee’s claim will require

determination of whether the employee worked the hours they claim, whether they reported those

hours and to whom, whether their meal break was in fact interrupted, and whether they were in fact

compensated for the hours claimed. (Resp. Mot. Certify, Dkt. 29, at 15). These are all individualized

inquiries, so much so—according to MVTI—that collective action would be inappropriate. (Id. at 16

(citing Blaney v. Charlotte-Mecklenburg Hosp. Auth., 3:10-CV-592-FDW-DSC, 2011 WL 4351631, at *10


                                                     5
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 6 of 15



(W.D.N.C. Sept. 16, 2011) (“Where the record before the court demonstrates that there is no

common policy or scheme and instead individualized questions of fact predominate, the action is

not an appropriate one for certification.”))).

        It is true that proof of these allegations will require, to a certain degree, an individualized

analysis of each employee’s time records and the reasons for reducing the employee’s time or

refusing to increase it. (Resp. Mot. Certify, Dkt. 29, at 15). But these allegations describe two policies

common to the class, provable by evidence common to the class, which creates a “factual nexus”

between the plaintiffs’ claims. Vanzzini v. Action Meat Distribs., Inc., 995 F. Supp. 2d 703, 720 (S.D.

Tex. 2014). These allegations are enough to find Miller’s potential plaintiffs—at least, the subset of

them who worked at the UT Shuttle Division—similarly situated under Section 216(b) at this stage,

notwithstanding the fact that proof of each plaintiff’s damages will be individualized. See O’Brien v.

Ed Donnelly Enters., Inc., 575 F.3d 567, 585 (6th Cir. 2009), abrogated on other grounds by Campbell-Ewald

Co. v. Gomez, 136 S. Ct. 663 (2016) (finding the class members to be similarly situated “because their

claims were unified by common theories of defendants’ statutory violations, even if the proofs of

these theories are inevitably individualized and distinct”). As Miller points out, “the need to

determine class members’ damages on an individualized basis should not bar conditional

certification if the proposed class is otherwise similarly situated.” Maynor v. Dow Chem. Co., CIV. A.

G-07-0504, 2008 WL 2220394, at *9 (S.D. Tex. May 28, 2008) (citing U.S. Dep’t of Labor v. Cole

Enters., 62 F.3d 775, 781 (6th Cir. 1995)).

        B. Does Miller Allege a Company Policy or Just Isolated Supervisor Conduct?

        According to MVTI, it “has a clear system in place” to make sure that its employees are paid

properly. (Resp. Mot. Certify, Dkt. 29, at 12). According to its official policy, MVTI’s UT Shuttle

Division provides employees with a “payroll recap” that breaks down the days and hours worked in


                                                     6
            Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 7 of 15



each pay period, and employees can notify MVTI of any errors in their pay or hours. (Harper Decl.,

Dkt. 29-1, at 8).2 Indeed, MVTI identifies instances in which Miller worked through lunch and was

paid for that time. (Id. at 9–10). In MVTI’s view, its official policy is to comply with the FLSA, and

none of Miller’s allegations describe a corporate decision to ignore its official policy. (Resp. Mot.

Certify, Dkt. 29, at 12).

         MVTI points out, correctly, that it is not necessarily unlawful under the FLSA to

automatically deduct time for meal breaks. (Resp. Mot. Certify, Dkt. 29, at 10–11); see White v. Baptist

Mem’l Health Care Corp., 699 F.3d 869, 873 (6th Cir. 2012); (“An automatic meal deduction system is

lawful under the FLSA.”); Dinkel v. MedStar Health, Inc., 880 F. Supp. 2d 49, 55 (D.D.C. 2012)

(finding that “the bare existence of an auto-deduct policy . . . is not by itself the least bit unlawful”);

Colozzi v. St. Joseph’s Hosp. Health Ctr., 595 F. Supp. 2d 200, 206 (N.D.N.Y. 2009) (“[T]he mere

existence and implementation of a policy or practice of making automatic deductions for scheduled

meal breaks in and of itself does not violate the FLSA.”). The Court agrees with MVTI that an

automatic-meal-deduction-policy is lawful so long as the employer has a policy to pay its employees

for all compensable time worked. (Resp. Mot. Certify, Dkt. 29, at 11). On its face, MVTI’s formal

policy appears to be such a policy.

         But an employer’s formal policy may differ from its de facto policy, and Miller and Ortego

allege that in practice, MVTI’s policy is to ignore employees’ requests to be compensated for meal

breaks during which they worked. (Miller Decl., Dkt. 33-1, ¶¶ 3–4, 10; Ortego Decl., Dkt. 16-2, ¶ 4).

According to Miller, he and others “regularly worked through lunch,” which was “constantly

interrupted.” (Miller Decl., Dkt. 33-1, ¶ 4). When he complained to management that he was not



2Donna Harper’s declaration appears in a single PDF along with its supporting exhibits. (Dkt. 29-1). Citations to her
declaration or the supporting exhibits are to the PDF page, not the page number for the discrete document within the
PDF.

                                                           7
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 8 of 15



being paid for these interrupted breaks, “nothing changed.” (Id.). He says it was “common

knowledge” that MVTI would refuse to compensate employees for interrupted meal breaks, and that

“nothing was ever done” to remedy the employees’ complaints about this practice. (Id. ¶ 10).

       These allegations are substantial enough to warrant conditional certification. The FLSA

requires “an employer to compensate employees who work through . . . unpaid meal breaks, and to

police and oversee hourly workers and their supervisors to ensure that when working through or

during unpaid meal breaks they are compensated.” Lindberg v. UHS of Lakeside, LLC, 761 F. Supp. 2d

752, 760 (W.D. Tenn. 2011) (quoting Colozzi, 595 F. Supp. 2d at 206–07). District courts often

conditionally certify FLSA classes when presented with allegations that supervisors are in practice

discouraging employees from correcting their time records or wrongfully refusing to correct

employees’ time records. See Hamm v. S. Ohio Med. Ctr., 275 F. Supp. 3d 863, 877 (S.D. Ohio 2017)

(conditionally certifying a class where the employer’s “enforcement of its automatic meal deduction

policy has violated the FLSA by causing Plaintiff and other potential class members to work hours

for which they were not compensated”); Myers v. Marietta Mem’l Hosp., 201 F. Supp. 3d 884, 895 (S.D.

Ohio 2016) (conditionally certifying a class where plaintiffs alleged “that they and other workers

were often unable to take meal breaks and were discouraged from canceling the automatic deduction

when they could not take a break”); Lindberg, 761 F. Supp. 2d at 761 (conditionally certifying a class

where plaintiffs alleged that management knew they were working through meal breaks but

“routinely discouraged employees from utilizing the time adjustment forms”).

       Conditional certification is especially appropriate in light of additional allegations that MVTI

has a de facto policy to shave maintenance employees’ time to reduce their overtime hours. (Miller

Decl., Dkt. 33-1, ¶¶ 5–10; Ortego Decl., Dkt. 16-2, ¶ 2–3). Indeed, Ortego says that one of his

supervisors showed him “how management manually adjusted employee time,” which happened “on


                                                   8
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 9 of 15



a regular basis.” (Ortego Decl., Dkt. 16-2, ¶ 2). There is no question that the purposeful alteration of

employee time records to reduce overtime compensation violates the FLSA. See, e.g., Monroe v. FTS

USA, LLC, 860 F.3d 389, 404 (6th Cir. 2017), cert. denied, 138 S. Ct. 980 (2018) (affirming

conditional certification based on evidence of defendant’s time-shaving policy); Falcon v. Starbucks

Corp., 580 F. Supp. 2d 528, 536 (S.D. Tex. 2008) (denying decertification based on evidence that the

class members had time shaved off their hours by supervisors). Miller and Ortego’s allegations that

the practice was routine, widely known because of frequent complaints, and unremedied are

substantial enough to warrant conditional certification.

                  3. Is There Enough Evidence of Other Interested Plaintiffs?

        Next, MVTI argues that conditional certification is inappropriate because Miller has not

identified other interested plaintiffs. (Resp. Mot. Certify, Dkt. 29, at 16–17 (citing Mackenzie v.

Kindred Hosps. E., L.L.C., 276 F. Supp. 2d 1211, 1220 (M.D. Fla. 2003) (“[A] showing that others

desire to opt-in must be made before notice is authorized.”))). MVTI points out, correctly, that no

other plaintiff has opted in—not even Ortego—and Miller identifies no other potential plaintiffs by

name. (Id.). Rather, Miller’s evidence of interest is limited to his and Ortego’s general declarations

that “there are many current and former employees who would join a collective action” if informed

of their rights to do so. (Miller Decl., Dkt. 16-1, ¶ 5; Ortego Decl., Dkt. 16-2, ¶ 5).

        While it is true that some courts require more concrete evidence of interested potential

plaintiffs at the conditional-certification stage, this Court has previously held that such a requirement

is not based on the FLSA and is indeed inconsistent with the FLSA. See Townsend v. Cent. Pony

Express, Inc., SA-17-CV-00552-OLG, 2018 WL 2432962, at *2 (W.D. Tex. Jan. 26, 2018)

(“After reviewing the applicable law, the court finds that a plaintiff does not necessarily need to

present evidence at this stage of specific individuals who actually wish to opt in to the lawsuit.”);


                                                    9
         Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 10 of 15



Contreras v. Land Restoration LLC, 1:16-CV-883-RP, 2017 WL 663560, at *7 (W.D. Tex. Feb. 17,

2017) (quoting Black v. SettlePou, P.C., 2011 WL 609884 at *3 (N.D. Tex. Feb. 14, 2011)) (“Requiring

Plaintiffs to identify and obtain preliminary support from potential class members is ‘putting the cart

before the horse.’”); Dyson v. Stuart Petroleum Testers, Inc., 308 F.R.D. 510, 513 (W.D. Tex. 2015)

(finding that plaintiffs satisfied their conditional-certification burden through declarations that other

employees may be interested in joining the lawsuit). Miller and Ortego’s declarations are enough

evidence of other potential plaintiffs at this early stage in the litigation. For the reasons given above,

the Court finds that Miller’s proposed class, modified to apply only to the UT Shuttle Division,

should be conditionally certified. What remains to be determined is the scope of the class, the

content of the notice, and whether to equitably toll the statute of limitations for plaintiffs who opt

in.

            4. Does the Collective Bargaining Agreement Limit the Class’s Scope?

        Unlike most of the proposed class, Miller was a supervisor at the UT Shuttle Division. (Resp.

Mot. Certify, Dkt. 29, at 17). The non-supervisory members of the proposed class are union

members subject to their collective bargaining agreement (“CBA”). (Id.). That CBA contains a

grievance procedure for misreported time:

        “If the Company alters or denies any time reported by an employee, affecting the
        employee’s pay, the employee will be promptly notified. Any disagreement may be
        resolved through the grievance procedure.”

(CBA, Dkt. 29-1, at 167). MVTI argues that no unionized maintenance employee should receive

notice of this action because this arbitration agreement precludes their participation in this action.

(Sur-Reply Mot. Certify, Dkt. 37, at 7 (citing In re JPMorgan Chase & Co., 916 F.3d at 504)).

        Miller responds that the grievance procedure is not preclusive because it is merely optional.

(Reply Mot. Certify, Dkt. 33, at 11 (emphasizing that disagreements “may”—not “must”—be


                                                    10
         Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 11 of 15



resolved through the grievance procedure)). But employees “wishing to assert contract grievances”

must first use the CBA’s procedure before seeking relief in federal court unless the parties to the

CBA “expressly agree[ ]” that arbitration is “not the exclusive remedy.” Republic Steel Corp. v. Maddox,

379 U.S. 650, 652, 657–58 (1965). Use of the word “may” does not “of itself reveal a clear

understanding” between the CBA’s parties that employees may “avoid the contract procedure . . . in

favor of judicial suit.” Id. at 658–59. So, too, here: the CBA’s provision that disagreements about

reported time and payment “may” be resolved according to the contract procedure is not an express

agreement that the grievance procedure is not the exclusive remedy for such disputes, and “[a]ny

doubts must be resolved against such an interpretation.” Id. at 659.

        But even mandatory grievance procedures do not apply to statutory claims unless the CBA

so provides. Miller argues that the grievance procedure is not preclusive because it only applies to

contract grievances and not to statutory causes of action. (Sur-Sur-Reply, Dkt. 40, at 4). According

to Miller, the class’s claims are not contract grievances because there are “not relying on the terms of

the CBA to recover wrongfully denied overtime,” but rather on the FLSA. (Id.). And, as Miller

points out, the CBA’s grievance provision does not refer to the FLSA. (CBA, Dkt. 29-1, at 167).

        This last fact is critical. In the context of a CBA, an agreement to “arbitrate statutory . . .

claims [must] be ‘explicitly stated’ in the collective bargaining agreement.” 14 Penn Plaza LLC v. Pyett,

556 U.S. 247, 258 (2009) (quoting Wright v. Universal Maritime Serv. Corp., 525 U.S. 70, 80 (1998)). A

CBA can meet that requirement by expressly identifying the statutory claims by name. See id. (finding

that the CBA explicitly stated that the parties agreed to arbitrate Age Discrimination in Employment

Act (“ADEA”) claims when it named the ADEA in the arbitration provision). On the other hand, a

CBA fails to meet that requirement when it fails to either “identify the specific statutes the

agreement purports to incorporate or include an arbitration clause that explicitly refers to statutory


                                                    11
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 12 of 15



claims.” Ibarra v. United Parcel Serv., 695 F.3d 354, 360 (5th Cir. 2012). Ibarra makes clear that

identification must be explicit; merely describing the substance of a statutory claim is not enough. See

id. (holding that the plaintiffs’ CBA did not “clearly and unmistakably” waive their right to bring a

Title VII in federal court, even though the CBA’s arbitration provision covered disputes arising

under its nondiscrimination provision, which barred discrimination based on a person’s “race, color,

religion, sex, sexual orientation, national origin, physical disability, veteran status or age in violation

of any federal or state law”) (cleaned up). Here, the CBA does not explicitly state that its arbitration

provision covers FLSA claims because it nowhere mentions, much less expressly incorporates, the

FLSA. (CBA, Dkt. 29-1, at 128–73). At most, its arbitration provision identifies conduct relevant to

an FLSA claim: denying payment for time reported by an employee. (Id. at 167). But identifying

conduct relevant to a statutory claim is not enough to “clearly and unmistakably” agree to arbitrate

that claim, particularly given Ibarra’s holding that describing the same conduct proscribed by a

federal statute does not clearly and unmistakably identify that statute. Ibarra, 695 F.3d at 360. The

CBA does not affect the scope of the class to be conditionally certified.

                                    4. Content and Form of Notice

        MVTI offers two objections to the content and form of Miller’s proposed notice. First, it

argues that Miller should have to tell potential plaintiffs that they may be required to pay MVTI’s

costs if it prevails on the merits. (Resp. Mot. Certify, Dkt. 29, at 22–23). This objection is overruled

because Plaintiff’s counsel’s representation agreement absolves plaintiffs from responsibility for

costs. (Reply Mot. Certify, Dkt. 33, at 13 n.20). Second, MVTI objects to sending reminder notice

because approving such notice might be seen as approval of the merits of the class’s claims. (Resp.

Mot. Certify, Dkt. 29, at 24). The Court does not share MVTI’s concerns and will approve reminder

notice in this case as it has in other FLSA collective actions. See Ferguson v. Texas Farm Bureau Bus.


                                                     12
          Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 13 of 15



Corp., 6:17-CV-111-RP, 2018 WL 1392704, at *4 (W.D. Tex. Mar. 20, 2018); Page v. Crescent Directional

Drilling, L.P., 5:15-CV-193-RP, 2015 WL 12660425, at *4 (W.D. Tex. Dec. 10, 2015); Dyson, 308

F.R.D. at 516–17. As for MVTI’s other objections, the parties shall confer about a joint notice form,

and the Court will address any objections that remain after the parties’ conference.

                                          5. Equitable Tolling

        In general, an FLSA cause of action must be brought within two years of accrual. 29 U.S.C.

§ 255(a). In an FLSA collective action, “the statute of limitations for a named plaintiff runs from the

date that the plaintiff files the complaint, while the limitations period for an opt-in plaintiff runs

from the opt-in date.” Sandoz, 553 F.3d at 916–17. The FLSA’s limitations period can be equitably

tolled. See Holmberg v. Armbrecht, 327 U.S. 392, 397 (1946) (“This equitable doctrine is read into every

federal statute of limitations.”). But while the decision to allow equitable tolling rests in the

discretion of the district court, Teemac v. Henderson, 298 F.3d 452, 456 (5th Cir. 2002), equitable

tolling “is a narrow exception . . . that should be ‘applied sparingly.’” Sandoz v. Cingular Wireless,

L.L.C., 700 F. App’x 317, 320 (5th Cir. 2017) (quoting Phillips v. Leggett & Platt, Inc., 658 F.3d 452,

457 (5th Cir. 2011)). For this narrow exception to apply, a plaintiff must show “(1) that he has been

pursuing his rights diligently, and (2) that some extraordinary circumstance stood in his way and

prevented timely filing.” Menominee Indian Tribe of Wis. v. United States, 136 S. Ct. 750, 755 (2016)

(citation omitted). This standard requires “reasonable diligence,” not “maximum feasible diligence.”

Holland v. Florida, 560 U.S. 631, 653 (2010). An extraordinary circumstance is one “that derives from

some external obstacle to timely filing beyond the plaintiff’s control, not from self-inflicted delay.”

Sandoz, 700 F. App’x at 320 (citing Menominee Indian Tribe, 136 S. Ct. at 755) (cleaned up). The party

invoking equitable tolling bears the burden of proof. Teemac, 298 F.3d at 457.




                                                     13
         Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 14 of 15



        Miller asks the Court to toll the limitations period for any opt-in class member from the date

of his motion until the notice and opt-in period is over. (Mot. Certify, Dkt. 16, at 10–11). He argues

that he acted diligently in seeking conditional certification by filing the instant motion within five

months of filing his complaint and argues that the time that has passed since then has been out of

his control. (Id.). Six weeks of that delay was due to a stay issued at the request of MVTI while the

Court considered whether to permit Miller to amend his complaint. (See Dkts. 22, 26). As Miller

points out, some courts have equitably tolled the FLSA’s limitations period while a motion for

conditional certification was pending. See Hernandez v. Caviness Packing Co., Inc., 2:07-CV-142-J, 2008

WL 11183755, at *2 (N.D. Tex. June 2, 2008); Davis v. Flare Ignitors & Rentals, Inc., SA-11-CA-00450-

OLG, 2012 WL 12539328, at *2 (W.D. Tex. Mar. 19, 2012).

        But Miller has provided no evidence that the potential opt-in plaintiffs have been unaware of

their rights or prevented from joining this action. Indeed, tolling the limitations period as Miller

requests would entail giving Mr. Ortego, who has been aware of his rights since at least the date of

his declaration but has not sought to be joined as a named plaintiff, extraordinary relief without

justification. Miller has not met his burden to establish that such relief is justified for Mr. Ortego or

the rest of the proposed class. See Mejia v. Brothers Petroleum, LLC, No. 12-2842, 2014 WL 3853580, at

*2 (E.D. La. Aug. 4, 2014) (“A delay of five months between the Class Action Motion and

certification by the court is not an extraordinary circumstance.”) (citing cases); McKnight v. D.

Houston, Inc., 756 F. Supp. 2d 794, 808–09 (S.D. Tex. 2010) (rejecting equitable tolling of FLSA

claims when the motion for conditional certification was pending for six months).




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         Case 1:18-cv-00538-RP Document 40 Filed 05/14/19 Page 15 of 15



                                        IV. CONCLUSION

        For the reasons given above, IT IS ORDERED that Miller’s Motion for Conditional

Certification, (Dkt. 16), is GRANTED IN PART. The motion is granted insofar as the Court will

grant Miller the following relief and no other:

        (1) The Court conditionally certifies the following class (“Class”) for purposes of

            providing notice to potential class members and allowing potential class

            members to opt in:

                All current and former maintenance employees who were treated by
                Defendant as FLSA non-exempt and who worked for Defendant’s
                UT Shuttle Division in Austin, Texas, within the three years
                preceding the date of Miller’s motion for conditional certification.

        (2) The parties shall confer about the form and content of class notice, as well as a proposed

            schedule for issuing that notice, receiving responses, and briefing MVTI’s motion for

            decertification. Given Miller’s concerns about the limitations period, the parties shall

            submit a joint proposed class notice and schedule on or before May 21, 2019. If the

            parties cannot agree on the class notice or schedule, they shall submit a joint advisory on

            or before May 21, 2019, in which they describe the areas of their disagreement and

            request a telephone conference to resolve them.

        SIGNED on May 14, 2019.




                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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